                                                             REDACTED
Employment - Search Results for CARSON, ARTHUR 8467                      Page 1 of 5
          Case 4:19-cv-00256-BSM Document 8-1 Filed 05/16/19 Page 1 of 5




Actual Account: atldispute
Acting as Account: scn262325




If your consumer is a California resident, the following notice is provided as required under
California law:

IMPORTANT NOTICE UNDER CALIFORNIA LAW

First Advantage does not guarantee the accuracy or truthfulness of the information as to the subject
of the investigation, but only that it is accurately copied from public records. Information generated
as a result of identity theft, including evidence of criminal activity, may be inaccurately associated
with the consumer who is the subject of this report. In California, First Advantage shall provide a
consumer seeking to obtain a copy of a report or making a request to review a file, a written notice
in simple, plain English and Spanish setting forth the terms and conditions of his or her right to
receive all disclosures.

First Advantage no garantiza la exactitud o veracidad de la informacisn en cuanto al objeto de la
investigacisn, sino que solamente copia la informacisn de los archivos pzblicos con exactitud. La
informacisn generada a ramz del robo de identidad, incluyendo evidencia de actividad criminal,
puede ser incorrectamente asociada con el consumidor objeto de este informe. El cliente esta de
acuerdo y certifica que al ordenar y usar este informe esta en estricto cumplimiento de cualesquiera
leyes o regulaciones locales, estatales y federales que sean aplicables.



Report For:                                                                 Date Ordered: 07/05/18
CARSON, ARTHUR WAYNE                                                        Last Updated: 07/06/18
SSN REDACTED8467
  Sex male
2000 RICE ST LITTLE ROCK Arkansas 72202

First_Advantage National Criminal File Plus Search - 2 matches
First Advantage Public Records Search

                                                   SSN VALIDATION

                                  SSN          8467 was VALIDLY ISSUED
                                        REDACTED

                                                  in 1966
                                                    in TX

                                     DEVELOPED NAMES AND ADDRESSES



One additional name and address was found.                     Click here to view the report.

                          FIRST_ADVANTAGE NATIONAL CRIMINAL FILE PLUS SEARCH



Name:                           CARSON, ARTHUR WAYNE
Date Of Birth:                  REDACTEDXXXX




   CASE NO. 4:19-cv-00256-BSM           FIRST ADVANTAGE MOTION TO DISMISS               PAGE 1 OF 5
                                                   EXHIBIT ONE
https://employment.fadv.com/cgi-bin/private/ht_retrievereport?813_000                           9/5/2018
                                                          REDACTED
Employment - Search Results for CARSON, ARTHUR 8467                      Page 2 of 5
          Case 4:19-cv-00256-BSM Document 8-1 Filed 05/16/19 Page 2 of 5


SSN:
1) Alias Name:                  CARSON, ARTHUR
1) Alias DOB:                   REDACTEDXXXX

2) Alias Name:                  CARSON, ARTHUR ARAY
2) Alias DOB:                   REDACTEDXXXX

3) Alias Name:                  CARSON, ARTHUR RAY
3) Alias DOB:                   REDACTEDXXXX

4) Alias Name:                  CARSON, ARTHUR W
4) Alias DOB:                   REDACTEDXXXX

Source:                         TEXAS DEPARTMENT OF PUBLIC SAFETY
State:                          TX
Case Number:                    C74 4819 PM
Offense:                        INMATE NUMBER: 219126
Offense Date:                   05/15/1974
Sentence:                       Court Fee: 25
                                Maximum Probation: 5 Years
Disposition:                    COURT DISPOSITION: CONVICTED
                                COURT PHASE
Disposition Date:               11/10/1976
Current As Of:                  05/06/2018

Name:                           CARSON, ARTHUR WAYNE
Date Of Birth:                  REDACTEDXXXX

SSN:
1) Alias Name:                  CARSON, ARTHUR
1) Alias DOB:                   REDACTEDXXXX

2) Alias Name:                  CARSON, ARTHUR ARAY
2) Alias DOB:                   REDACTEDXXXX

3) Alias Name:                  CARSON, ARTHUR RAY
3) Alias DOB:                   REDACTEDXXXX

4) Alias Name:                  CARSON, ARTHUR W
4) Alias DOB:                   REDACTEDXXXX

Source:                         TEXAS DEPARTMENT OF PUBLIC SAFETY
State:                          TX
Case Number:                    TXAOCDPS2211068-3
Offense:                        AGG ASSAULT ON POLICE OFFICER
Offense Date:                   05/06/1986
Sentence:                       TX236065C DCJ421209
                                Maximum Sentence: 5 Years
Disposition:                    COURT DISPOSITION: CONVICTED
                                COURT PHASE
Current As Of:                  05/06/2018

                                              PUBLIC RECORDS


Search Type           Felony & Misdemeanor Search                     Search Results   CLEAR
Type of Search        FELONY & MISDEMEANOR RECORD SEARCH
Date of Search        07/05/2018
Search Period         06/21/2011 - 06/21/2018
Address Covered       DALLAS, TX
Records Source        DALLAS COUNTY DISTRICT AND COUNTY COURTS
Location              133 N INDUSTRIAL BLVD DALLAS, TX DALLAS COUNTY
Name Searched         ARTHUR WAYNE CARSON
                      ARTHUR WAYNE CARSON




   CASE NO. 4:19-cv-00256-BSM         FIRST ADVANTAGE MOTION TO DISMISS                        PAGE 2 OF 5
                                                 EXHIBIT ONE
https://employment.fadv.com/cgi-bin/private/ht_retrievereport?813_000                               9/5/2018
                                                               REDACTED
Employment - Search Results for CARSON, ARTHUR 8467                      Page 3 of 5
          Case 4:19-cv-00256-BSM Document 8-1 Filed 05/16/19 Page 3 of 5


Source Status History
Status Date                   Action Date                   Status
07/05/2018                    07/09/2018                    Search in progress. Estimated completion by Action Date.



Process History
Event Date                                    Action Date              Event Description
07/05/2018 02:50:31 P.M.                                               Search In Progress.
07/05/2018 02:50:31 P.M.                                               Search In Progress.
07/05/2018 02:51:49 P.M.                      07/09/2018               Your search is in progress
07/05/2018 04:19:41 P.M.                      07/05/2018               Your search is in progress
07/05/2018 04:20:58 P.M.                                               Search In Progress.
07/05/2018 10:40:45 P.M.                                               Record Judged.




All fully displayed personal identifiable information is customer-provided

END OF REPORT FOR:
CARSON, ARTHUR WAYNE

              *** All fully displayed personal identifiable information is customer-provided ***


Para informacion en espanol, visite www.consumerfinance.gov/learnmore o escribe a la Consumer Financial
Protection Bureau, 1700 G Street N.W., Washington, DC 20552.

                        A Summary of Your Rights Under the Fair Credit Reporting Act

The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and privacy of information in
the files of consumer reporting agencies. There are many types of consumer reporting agencies, including credit
bureaus and specialty agencies (such as agencies that sell information about check writing histories, medical
records, and rental history records). Here is a summary of your major rights under the FCRA. For more
information, including information about additional rights, go to www.consumerfinance.gov/learnmore or write
to: Consumer Financial Protection Bureau, 1700 G Street N.W., Washington, DC 20552.

   z   You must be told if information in your file has been used against you. Anyone who uses a credit report or
       another type of consumer report to deny your application for credit, insurance, or employment – or to
       take another adverse action against you – must tell you, and must give you the name, address, and phone
       number of the agency that provided the information.

   z   You have the right to know what is in your file. You may request and obtain all the information about you
       in the files of a consumer reporting agency (your “file disclosure”). You will be required to provide
       proper identification, which may include your Social Security number. In many cases, the disclosure will
       be free. You are entitled to a free file disclosure if:
           z a person has taken adverse action against you because of information in your credit report;
           z you are the victim of identity theft and place a fraud alert in your file;
           z your file contains inaccurate information as a result of fraud;

           z you are on public assistance;
           z you are unemployed but expect to apply for employment within 60 days.


In addition, all consumers are entitled to one free disclosure every 12 months upon request from each
nationwide credit bureau and from nationwide specialty consumer reporting agencies. See
www.consumerfinance.gov/learnmore for additional information.



   CASE NO. 4:19-cv-00256-BSM           FIRST ADVANTAGE MOTION TO DISMISS                                PAGE 3 OF 5
                                                   EXHIBIT ONE
https://employment.fadv.com/cgi-bin/private/ht_retrievereport?813_000                                          9/5/2018
                                                                                     REDACTED
Employment - Search Results for CARSON, ARTHUR 8467                      Page 4 of 5
          Case 4:19-cv-00256-BSM Document 8-1 Filed 05/16/19 Page 4 of 5


    z   You have the right to ask for a credit score. Credit scores are numerical summaries of your credit-
        worthiness based on information from credit bureaus. You may request a credit score from consumer
        reporting agencies that create scores or distribute scores used in residential real property loans, but you
        will have to pay for it. In some mortgage transactions, you will receive credit score information for free
        from the mortgage lender.

    z   You have the right to dispute incomplete or inaccurate information. If you identify information in your
        file that is incomplete or inaccurate, and report it to the consumer reporting agency, the agency must
        investigate unless your dispute is frivolous. See www.consumerfinance.gov/learnmore for an explanation
        of dispute procedures.

    z   Consumer reporting agencies must correct or delete inaccurate, incomplete, or unverifiable information.
        Inaccurate, incomplete or unverifiable information must be removed or corrected, usually within 30 days.
        However, a consumer reporting agency may continue to report information it has verified as accurate.

    z   Consumer reporting agencies may not report outdated negative information. In most cases, a consumer
        reporting agency may not report negative information that is more than seven years old, or bankruptcies
        that are more than 10 years old.

    z   Access to your file is limited. A consumer reporting agency may provide information about you only to
        people with a valid need – usually to consider an application with a creditor, insurer, employer, landlord,
        or other business. The FCRA specifies those with a valid need for access.

    z   You must give your consent for reports to be provided to employers. A consumer reporting agency may
        not give out information about you to your employer, or a potential employer, without your written
        consent given to the employer. Written consent generally is not required in the trucking industry. For
        more information, go to www.consumerfinance.gov/learnmore.

    z   You may limit “prescreened” offers of credit and insurance you get based on information in your credit
        report. Unsolicited “prescreened” offers for credit and insurance must include a toll-free phone number
        you can call if you choose to remove your name and address from the lists these offers are based on. You
        may opt-out with the nationwide credit bureaus at 1-888-567-8688.

    z   You may seek damages from violators. If a consumer reporting agency, or, in some cases, a user of
        consumer reports or a furnisher of information to a consumer reporting agency violates the FCRA, you
        may be able to sue in state or federal court.

    z   Identity theft victims and active duty military personnel have additional rights. For more information,
        visit www.consumerfinance.gov/learnmore.

States may enforce the FCRA, and many states have their own consumer reporting laws. In some cases, you
may have more rights under state law. For more information, contact your state or local consumer protection
agency or your state Attorney General. For information about your federal rights, contact:

TYPE OF BUSINESS:                                                               CONTACT:
1.a. Banks, savings associations, and credit unions with total assets of over $10 a. Consumer Financial Protection Bureau
billion and their affiliates.                                                     1700 G Street NW
                                                                                  Washington, DC 20552
b. Such affiliates that are not banks, savings associations, or credit unions also
should list, in addition to the CFPB:                                              b. Federal Trade Commission: Consumer Response Center – FCRA
                                                                                   Washington, DC 20580
                                                                                   (877) 382-4357
2. To the extent not included in item 1 above:                                     a. Office of the Comptroller of the Currency
                                                                                   Customer Assistance Group
                                                                                   1301 McKinney Street, Suite 3450
a. National banks, federal savings associations, and federal branches and          Houston, TX 77010-9050
federal agencies of foreign banks

                                                                                b. Federal Reserve Consumer Help Center P.O. Box 1200 Minneapolis, MN
b. State member banks, branches and agencies of foreign banks (other than       55480
federal branches, federal agencies, and Insured State Branches of Foreign



     CASE NO. 4:19-cv-00256-BSM                       FIRST ADVANTAGE MOTION TO DISMISS                                               PAGE 4 OF 5
                                                                 EXHIBIT ONE
https://employment.fadv.com/cgi-bin/private/ht_retrievereport?813_000                                                                        9/5/2018
                                                                                  REDACTED
Employment - Search Results for CARSON, ARTHUR 8467                      Page 5 of 5
          Case 4:19-cv-00256-BSM Document 8-1 Filed 05/16/19 Page 5 of 5


Banks), commercial lending companies owned or controlled by foreign banks, c. FDIC Consumer Response Center
and organizations operating under section 25 or 25A of the Federal Reserve Act 1100 Walnut Street, Box #11
                                                                               Kansas City, MO 64106
c. Nonmember Insured Banks, Insured State Branches of Foreign Banks, and
insured state savings associations                                           d. National Credit Union Administration
                                                                             Office of Consumer Protection (OCP)
                                                                             Division of Consumer Compliance and Outreach (DCCO)
d. Federal Credit Unions                                                     1775 Duke Street
                                                                             Alexandria, VA 22314
3. Air carriers                                                             Asst. General Counsel for Aviation Enforcement & Proceedings
                                                                            Aviation Consumer Protection Division
                                                                            Department of Transportation
                                                                            1200 New Jersey Avenue, S.E.
                                                                            Washington, DC 20590
4. Creditors Subject to Surface Transportation Board                        Office of Proceedings, Surface Transportation Board
                                                                            Department of Transportation
                                                                            395 E Street SW
                                                                            Washington, DC 20423
5. Creditors Subject to Packers and Stockyards Act                          Nearest Packers and Stockyards Administration area supervisor
6. Small Business Investment Companies                                      Associate Deputy Administrator for Capital Access
                                                                            United States Small Business Administration
                                                                            409 Third Street, SW, 8th Floor
                                                                            Washington, DC 20416
7. Brokers and Dealers                                                      Securities and Exchange Commission
                                                                            100 F Street NE
                                                                            Washington, DC 20549
8. Federal Land Banks, Federal Land Bank Associations, Federal Intermediate Farm Credit Administration
Credit Banks, and Production Credit Associations                            1501 Farm Credit Drive
                                                                            McLean, VA 22102-5090
9. Retailers, Finance Companies, and All Other Creditors Not Listed Above   FTC Regional Office for region in which the creditor operates or
                                                                            Federal Trade Commission: Consumer Response Center – FCRA
                                                                            Washington, DC 20580
                                                                            (877) 382-4357




     CASE NO. 4:19-cv-00256-BSM                     FIRST ADVANTAGE MOTION TO DISMISS                                                PAGE 5 OF 5
                                                               EXHIBIT ONE
https://employment.fadv.com/cgi-bin/private/ht_retrievereport?813_000                                                                          9/5/2018
